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                      EXHIBIT LL
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                                                    Staff: Committee on Housing & Buildings
                                                            Austen Brandford, Senior Counsel
                                                                         Audrey Son, Counsel
                                                                       Genan Zilkha, Counsel
                                                            Jose Conde, Senior Policy Analyst
                                                                  Charles Kim, Policy Analyst
                                                  Sarah Gastelum, Principal Financial Analyst
                                                             Luke Zangerle, Financial Analyst

                                                    Staff: Committee on Consumer Affairs and
                                                                           Business Licensing
                                                              Balqees Mihirig, Senior Counsel
                                                               Leah Skrzypiec, Policy Analyst
                                                    Sebastian Bacchi, Senior Financial Analyst




                              THE NEW YORK CITY COUNCIL
                             Jeffrey Baker, Legislative Director

  COMMITTEE REPORT OF THE INFRASTRUCTURE AND GOVERNMENTAL AFFAIRS DIVISIONS
                Terzah Nasser, Deputy Director, Infrastructure Division
            Rachel Cordero, Deputy Director, Governmental Affairs Division

                         COMMITTEE ON HOUSING AND BUILDINGS
                            Hon. Robert E. Cornegy, Jr., Chair

                 COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS LICENSING
                               Hon. Andrew Cohen, Chair


                                      April 28, 2020



INT. NO. 1912:                            By the Speaker (Council Member Johnson) and
                                          Council Members Kallos, Van Bramer, Lander and
                                          Chin


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TITLE:                                      A Local Law in relation to ceasing the taking and
                                            restitution of property and the execution of money
                                            judgments by the city sheriff and marshals due to
                                            the impacts of COVID-19

ADMINISTRATIVE CODE:                        N/A

INT. NO. 1936:                              By Council Members Torres, the Speaker (Council
                                            Member Johnson), Kallos, Van Bramer, Chin and
                                            Powers

TITLE:                                      A Local Law to amend the administrative code of
                                            the city of New York, in relation to amending the
                                            definition of harassment to include threats based on
                                            a person having been impacted by COVID-19

ADMINISTRATIVE CODE:                        Amends section 27-2004



                                        INTRODUCTION

         On April 28, 2020, the Committee on Housing and Buildings, chaired by Council

Member Robert Cornegy, Jr., and the Committee on Consumer Affairs, chaired by Council

Member Andrew Cohen, will hold a hearing on two bills: Int. No. 1912, in relation to ceasing the

taking and restitution of property and the execution of money judgments by the city sheriff and

marshals due to the impacts of COVID-19, and Int. No. 1936, in relation to amending the

definition of harassment to include threats based on a person having been impacted by COVID-

19. The Committees expect to receive testimony from the New York City (“NYC” or the “City”)

Department of Housing Preservation and Development (“HPD”), the NYC Department of

Consumer and Worker Protection (“DCWP”), the NYC Commission on Human Rights

(“CCHR”), tenants, building owners, as well as other interested members of the public.




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                                             BACKGROUND

                                      TENANTS AND COVID-19

        The outbreak of the novel coronavirus, COVID-19, in the City of New York has resulted

in a myriad of concerns for many New Yorkers, including loss of income, food insecurity and

housing instability. In an effort to manage the spread of the virus, Governor Andrew Cuomo

issued an executive order, 1 and subsequent continuing executive orders, to bring the State to a

“PAUSE,” which ordered the closing of all businesses deemed “nonessential.” 2 The initial

“PAUSE” order was issued on March 7, 2020, and businesses began to close or were required to

reduce the number of in-person employees commencing on that date. 3 The closure of

“nonessential” businesses eventually became applicable to 100% of employees at all

nonessential businesses at 8:00 p.m. on March 22, 2020. 4

        In an analysis of the potential economic impacts of the pandemic on NYC households,

the New York University Furman Center “estimate[s] that about 1,405,000 (or 34 percent) of the

city’s wage earners may be at risk of income loss” 5 as a result of mass layoffs or workplace

closures, and that there are nearly 1,032,000 New York City households with at least one wage

earner in an occupation more vulnerable to income loss. 6 Additionally, the number of

unemployment claims filed with the State has skyrocketed since the “PAUSE”: approximately

144,000 claims were filed in New York City the week of March 22, 2020, up 2,637% from the



1       1
                 N.Y.          Exec.          Order        No.          202       (Mar.      7,       2020)
https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/EO_202.pdf.
2
  Id.
3
  Id.
4
          N.Y.         Exec.          Order          No.           202.8        (Mar.      20,        2020)
https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/EO_202.8.pdf.
5
  What are the Housing Costs of Households Most Vulnerable to Job Layoffs? An Initial Analysis, NYU Furman
Center (Mar. 30, 2020) available at https://furmancenter.org/thestoop/entry/what-are-the-housing-costs-of-
households-most-vulnerable-to-job-layoffs-an.
6
  Id.

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same period in 2019. 7 With this sudden loss of income, many tenants in the City have been left

wondering how they would make their rent payments.

        In an effort to provide some relief to tenants, the State and Federal governments have

each enacted measures to halt evictions for a period of time. Under Executive Order 202, 8 New

York State has implemented a moratorium on evictions, meaning no evictions will be enforced

against residential or commercial tenants. The moratorium is to remain in effect at least through

June 20, 2020, although it remains unclear whether it will be extended after that date. Likewise,

the Federal Coronavirus Aid, Relief, and Economic Security Act, otherwise known as the

CARES Act, imposes a moratorium on evictions for all federally subsidized housing, applying to

all new eviction actions for nonpayment of rent. 9 The New York State Attorney General has also

issued guidance to tenants 10 that provides information about their rights, including information

about harassment by landlords.

        Although the eviction moratoriums serve as temporary stopgaps to allow tenants to

remain in their apartments, they do not provide any kind of relief to tenants for rent owed during

the moratoriums. Further, they do not guarantee that tenants unable to pay rent will be able to

stay in their apartments once the moratoriums are lifted, or that tenants will be safe from landlord

harassment on the basis of having been impacted by the virus. Indeed, housing advocates have

reported that tenants are confused and uncertain as to what will happen once the moratoriums are

lifted, including whether landlords will suddenly flood the housing courts with eviction actions



7
  Corina Knoll, Azi Paybarah, Jacob Mensche and Elaine Chen, 11 Numbers That Show How the Coronavirus Has
Changes        N.Y.C.,      The       New      York     Times,        (Apr.     20,      2020)      available    at
https://www.nytimes.com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment.html .
8
  Supra, note 2.
9
     Coronavirus     Aid,     Relief,   and    Economic     Security     Act,    §    4024     (Mar.    27,   2020)
https://www.congress.gov/116/bills/hr748/BILLS-116hr748eas.pdf.
10
   Guidance on Coronavirus Resources and Warnings Against Consumer Scams: Housing Rights, N.Y. Attorney
General available at https://ag.ny.gov/coronavirus#housingrights (last accessed Apr. 24, 2020).

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against all tenants who were unable to make rent during the moratoriums. 11 In this hearing, the

Committees hope to learn more about tenant concerns arising from this crisis, and whether any

additional legislative measures can help rent-burdened tenants as the City prepares for the long-

term economic effects of the virus.


                                              LEGISLATION

        Below is a brief summary of the legislation being heard by the Committees at this

hearing. These summaries are intended for informational purposes only and do not substitute for

legal counsel. For more detailed information, you should review the full text of the bills, which

are attached below.



Int. No. 1912, a local law in relation to ceasing the taking and restitution of property and

the execution of money judgments by the city sheriff and marshals due to the impacts of

COVID-19

        This bill would prevent the City Sheriff and Marshals from taking certain actions with

respect to the taking and restitution of property or the execution of money judgments for

specified timeframes beyond the duration of state and federal eviction moratoriums.

        This legislation would take effect immediately.



Int. No. 1936, A Local Law to amend the New York city charter and the New York city

building code in relation to amending the definition of harassment to include threats based

on a person having been impacted by COVID-19


11
  See, e.g., Caroline Splvack, New York lawmakers seek to prevent ‘tidal wave’ of evictions, Curbed New York
(Apr. 7, 2020, 3:22 p.m.) available at https://ny.curbed.com/2020/4/7/21212353/new-york-coronavirus-rent-
eviction-bill-covid-19.

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        This bill would expand the definition of tenant harassment to protect individuals who

may be harassed due to their status as an essential employee or a person impacted by COVID-19,

or whether they received a rent concession or forbearance for any rent owed during the COVID-

19 crisis.

        This legislation would take effect immediately.




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                                                Int. No. 1912

     By the Speaker (Council Member Johnson) and Council Members Kallos, Van Bramer, Lander
     and Chin

     A Local Law in relation to ceasing the taking and restitution of property and the execution of
     money judgments by the city sheriff and marshals due to the impacts of COVID-19

     Be it enacted by the Council as follows:

 1          Section 1. As used in this local law, the following terms have the following meanings:

 2          COVID-19. The term “COVID-19” means the 2019 novel coronavirus or 2019-nCoV.

 3          COVID-19 state disaster emergency. The term “COVID-19 state disaster emergency”

 4   means the state disaster emergency declared by the governor in executive order number 202

 5   issued on March 7, 2020.

 6          Federal eviction moratorium. The term “federal eviction moratorium” means the

 7   moratorium on certain residential evictions set forth in section 4024 of the coronavirus aid, relief,

 8   and economic security, or CARES, act and any subsequent amendments to such section.

 9          First suspension date. The term “first suspension date” means the later of (i) the end of

10   the first month that commences after the expiration of the state eviction moratorium, (ii) the end

11   of the first month that commences after the expiration of the federal eviction moratorium, or (iii)

12   September 30, 2020.

13          Second suspension date. The term “second suspension date” means the later of (i) the end

14   of the seventh month that commences after the expiration of the state eviction moratorium, (ii)

15   the end of the seventh month that commences after the expiration of the federal eviction

16   moratorium, or (iii) April 1, 2021.




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 1          State eviction moratorium. The term “state eviction moratorium” means the moratorium

 2   on enforcement of evictions of residential and commercial tenants set forth in executive order

 3   number 202.8, as issued by the governor on March 20, 2020 and thereafter extended.

 4          § 2. Until the first suspension date, the city sheriff and, pursuant to section 1609 of the

 5   New York city civil court act, the marshals shall take no action with respect to the taking and

 6   restitution of property or the execution of money judgments unless:

 7          1. such action or type of action has been ordered by the governor or mayor pursuant to

 8   article 2-B of the executive law or is necessary in order to carry out an order issued by the

 9   governor or mayor pursuant to such article; or

10          2. such action or type of action is in connection with a matter under the jurisdiction of the

11   family court.

12          § 3. a. Until the second suspension date, the city sheriff and, pursuant to section 1609 of

13   the New York city civil court act, the marshals shall take no action with respect to the taking and

14   restitution of property or the execution of money judgments unless:

15          1. such action or type of action has been ordered by the governor or mayor pursuant to

16   article 2-B of the executive law or is necessary in order to carry out an order issued by the

17   governor or mayor pursuant to such article;

18          2. such action or type of action is in connection with a matter under the jurisdiction of the

19   family court; or

20          3. the party against whom such taking and restitution or such execution is sought has

21   been provided a reasonable opportunity to show the court having jurisdiction over the matter that

22   such party suffered a substantial loss of income because of COVID-19 and such court has found

23   that such party has not suffered such a loss or has effectively waived such opportunity.



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 1          b. For the purposes of subdivision a of this section, a party has suffered a substantial loss

 2   of income because of COVID-19 in the following instances:

 3          1. The party is a natural person and between March 7, 2020 and the first suspension date,

 4   inclusive, experienced two or more weeks in which (i) the person claimed federal or state

 5   unemployment insurance benefits in connection with a claim that was filed on or after March 7,

 6   2020 or (ii) the person worked fewer than three days and earned less than $504 because of one or

 7   more of the following situations:

 8          (a) the person was diagnosed with COVID-19 or was experiencing symptoms of COVID-

 9   19 and seeking a medical diagnosis;

10          (b) a member of the person’s household was diagnosed with COVID-19;

11          (c) the person was providing care for a family member or a member of the person’s

12   household who was diagnosed with COVID-19;

13          (d) a member of the person’s household for whom the person had primary caregiving

14   responsibility was unable to attend school or another facility that was closed as a direct result of

15   the COVID-19 state disaster emergency and such school or facility care was required for the

16   person to work;

17          (e) the person was unable to reach the person’s place of employment because of a

18   quarantine imposed as a direct result of the COVID-19 state disaster emergency;

19          (f) the person was unable to reach the person’s place of employment because the person

20   had been advised by a health care provider to self-quarantine due to concerns related to COVID-

21   19;

22          (g) the person was scheduled to commence employment and did not have a job or was

23   unable to reach the job as a direct result of the COVID-19 state disaster emergency;



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 1          (h) the person became the breadwinner or major supporter for a household because the

 2   head of the household died as a direct result of COVID-19;

 3          (i) the person quit a job as a direct result of COVID-19; or

 4          (j) the person’s place of employment is closed as a direct result of the COVID-19 state

 5   disaster emergency;

 6          2. The party is a business and (i) it was subject to seating, occupancy or on-premises

 7   service limitations pursuant to an executive order issued by the governor or mayor during the

 8   COVID-19 period or (ii) its revenues for any three-month period between March 7, 2020 and the

 9   first suspension date, inclusive, were less than 50 percent of its revenues for the same period in

10   2019 or less than 50 percent of its aggregate revenues for the months of December 2019, January

11   2020, and February 2020; or

12          3. The party is a natural person who is being held liable for a debt or other obligation of a

13   business that satisfies the requirements of paragraph 2 of this subdivision.

14          § 4. This local law takes effect immediately.


     LS 14763
     4/20/20 4:39PM




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                                                Int. No. 1936

     By Council Member Torres, the Speaker (Council Member Johnson), Kallos, Van Bramer, Chin
     and Powers

     A Local Law to amend the administrative code of the city of New York, in relation to amending
     the definition of harassment to include threats based on a person having been impacted by
     COVID-19

     Be it enacted by the Council as follows:

 1          Section 1. Subparagraph f-5 of paragraph 48 of subdivision a of section 27-2004 of the

 2   administrative code of the city of New York, as added by local law number 48 for the year 2018,

 3   is amended to read as follows:

 4          f-5. threatening any person lawfully entitled to occupancy of such dwelling unit based on

 5   such person’s actual or perceived age, race, creed, color, national origin, gender, disability,

 6   marital status, partnership status, caregiver status, uniformed service, sexual orientation, alienage

 7   or citizenship status, status as a victim of domestic violence, status as a victim of sex offenses or

 8   stalking, lawful source of income, status as an essential employee, status as a person impacted by

 9   COVID-19, or receipt of a rent concession or forbearance for any rent owed during the COVID-

10   19 period or because children are, may be or would be residing in such dwelling unit, as such

11   terms are defined in sections 8-102 and 8-107.1 of the code; provided that for the purposes of

12   this subparagraph:

13          (1) the term “COVID-19 period” means March 7, 2020 through the later of (i) the end of

14   the first month that commences after the expiration of the moratorium on enforcement of

15   evictions of residential and commercial tenants set forth in executive order number 202.8, as

16   issued by the governor on March 20, 2020 and thereafter extended, (ii) the end of the first month

17   that commences after the expiration of the moratorium on certain residential evictions set forth in




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 1   section 4024 of the federal coronavirus aid, relief, and economic security, or CARES, act and

 2   any subsequent amendments to such section or (iii) September 30, 2020, inclusive;

 3          (2) the term “essential employee” means a person employed by or permitted to work at or

 4   for a business classified as an essential business by the New York state department of economic

 5   development in accordance with executive order number 202.6 as issued by the governor on

 6   March 18, 2020 and extended thereafter; and

 7          (3) a person is “impacted by COVID-19” if such person experienced one or more of the

 8   following situations:

 9          (i) the person was diagnosed with COVID-19 or is experiencing symptoms of COVID-19

10   and seeking a medical diagnosis; provided that for the purposes of this subparagraph, the term

11   “COVID-19” means the 2019 novel coronavirus or 2019-nCoV;

12          (ii) a member of the person’s household was diagnosed with COVID-19;

13          (iii) the person was providing care for a family member or a member of the person’s

14   household who was diagnosed with COVID-19;

15          (iv) a member of the person’s household for whom the person had primary caregiving

16   responsibility was unable to attend school or another facility that was closed as a direct result of

17   the COVID-19 state disaster emergency and such school or facility care was required for the

18   person to work; provided that for the purposes of this subparagraph, the term “COVID-19 state

19   disaster emergency” means the state disaster emergency declared by the governor in executive

20   order number 202 issued on March 7, 2020;

21          (v) the person was unable to reach the person’s place of employment because of a

22   quarantine imposed as a direct result of the COVID-19 state disaster emergency;




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 1          (vi) the person was unable to reach the person’s place of employment because the person

 2   had been advised by a health care provider to self-quarantine due to concerns related to COVID-

 3   19;

 4          (vii) the person was scheduled to commence employment and did not have a job or was

 5   unable to reach the job as a direct result of the COVID-19 state disaster emergency;

 6          (viii) the person became the breadwinner or major supporter for a household because the

 7   head of the household died as a direct result of COVID-19;

 8          (ix) the person quit a job as a direct result of COVID-19; or

 9          (x) the person’s place of employment is closed as a direct result of the COVID-19 state

10   disaster emergency;

11          § 2. This local law takes effect immediately.


     LS 14513
     4/20/20 1:52AM




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